        Case 1:18-cv-00066-MAB Document 123               Filed 05/12/20     Page 1 of 4




                 UNITED STATES COURT OF INTERNATIONAL TRADE

 BEFORE: THE HONORABLE MARK A. BARNETT, JUDGE
 __________________________________________
                                            )
 HYUNDAI HEAVY INDUSTRIES CO., LTD.,        )
                                            )
                   Plaintiff,               )
                                            )
HYOSUNG CORPORATION, ILJIN ELECTRIC )
CO. LTD.,                                   )
                                            )
                   Consolidated Plaintiffs, )
                                            )
                                            ) Consol. Court No. 18-00066
                   v.                       )
                                            )
 UNITED STATES,                             )
                                            )
                   Defendant,               )
                                            )
                   and,                     )
                                            )
 ABB INC.,                                  )
                                            )
                   Defendant-Intervenors.   )
 __________________________________________)

                           MOTION FOR LEAVE TO AMEND
                          ADMINISTRATIVE RECORD INDICES

       Pursuant to Rule 7(b) of the Rules of this Court, defendant, the United States, respectfully

requests that the Court grant leave to the Department of Commerce (Commerce) to amend the

indices of the administrative record generated as a result of the remand in this matter. ECF Nos.

93-1, 93-2.

       On December 20, 2019, Commerce filed the remand administrative record index pursuant

to Rule 56.2(h)(1) of the Rules of this Court. ECF Doc. No. 93. It has come to Commerce’s

attention that the remand administrative case brief for defendant-intervenor ABB Inc. (ABB) was

inadvertently omitted from the indices to the remand administrative record. The error occurred
        Case 1:18-cv-00066-MAB Document 123              Filed 05/12/20     Page 2 of 4




because the brief was filed in an incorrect segment of the proceeding, and thus was not included

in the remand record indices when generated from Commerce’s records system.

       ABB’s remand administrative case brief was, in fact, reviewed and considered by

Commerce in its final remand result. See Final Results of Redetermination Pursuant to Court

Remand, January 15, 2020, ECF No. 91(Confidential) and 92 (Public). Accordingly, the record

indices should be amended to include ABB’s remand administrative case brief.

       Counsel for Hyundai Heavy Industries Company, Hyosung Heavy Industries

Corporation, and ABB have each indicated that they consent to this motion. Iljin Electric

Company has indicted that it does not oppose this motion.

       For these reasons, we respectfully request that the Court grant Commerce leave to file

amended record indices.

                                                            Respectfully submitted,

                                                            JOSEPH H. HUNT
                                                            Assistant Attorney General

                                                            JEANNE E. DAVIDSON
                                                            Director


                                                            /s/ L. Misha Preheim
                                                            L. MISHA PREHEIM
                                                            Assistant Director

 OF COUNSEL:                                                /s/ Kelly A. Krystyniak
                                                            KELLY KRYSTYNIAK
 DAVID RICHARDSON                                           Trial Attorney
 Attorney                                                   U.S. Department of Justice
 Office of the Chief Counsel for Trade                      Civil Division
 Enforcement and Compliance
 U.S. Department of Commerce

 May 12, 2020                                               Attorneys for Defendant




                                                2
        Case 1:18-cv-00066-MAB Document 123               Filed 05/12/20     Page 3 of 4




                             CERTIFICATE OF COMPLIANCE


Pursuant to Rule 2(b) of the Court’s Standard Chambers Procedures, defendant’s counsel

certifies that defendant’s motion in this matter complies with the Court’s type-volume limitation

rules. According to the word count calculated by the word processing system with which the

motion was prepared, this brief contains a total of 517 words.


                                     s/ Kelly A. Krystyniak

May 12, 2020




                                                3
         Case 1:18-cv-00066-MAB Document 123              Filed 05/12/20    Page 4 of 4




         IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, JUDGE
_________________________________________
                                          )
HYUNDAI HEAVY INDUSTRIES CO.,             )
LTD., et al.,                             )
                                          )
                  Plaintiffs,             )
                                          )
       v.                                 )
                                          ) Court No. 18-00066
UNITED STATES,                            )
                                          )
                  Defendant,              )
                                          )
       and                                )
                                          )
ABB INCORPORATED,                         )
                                          )
                  Defendant-Intervenor.   )
__________________________________________)

                                            ORDER

         Upon consideration of defendant’s motion to file amended administrative record indices,

it is hereby

         ORDERED that the motion is granted, and it is further

         ORDERED that the Department of Commerce shall file the amended indices within three

(3) days of entry of this order.


                                                            _____________________________

                                                            JUDGE

Dated:
